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 4
   Attorneys for Defendant
 5 MICHAEL ROTHENBERG

 6                                 UNITED STATES DISTRICT COURT
 7                              NORTHERN DISTRICT OF CALIFORNIA
 8                                         OAKLAND DIVISION

 9                                                    –ooo–
     UNITED STATES OF AMERICA,                           Case No. 4:20-cr-00266 JST
10
               Plaintiff,                                STIPULATION AND [PROPOSED]
11                                                       ORDER TO CONTINUE HEARING
          v.
12
     MICHAEL ROTHENBERG,
13
               Defendants.
14

15
            It is hereby stipulated by and between counsel for the United States and counsel for
16
     defendant Michael Rothenberg that the status hearing scheduled for May 9, 2025 shall be continued
17
     until May 30, 2025 at 9:30 a.m., for the reason that additional time is needed by defense counsel to
18
     complete the review of the trial transcripts and discovery and confer with experts. This additional
19

20 time is needed because the file and discovery in this case were received by defense counsel later

21 than initially anticipated, will enable her ability to advise the Court regarding the filing of a motion

22 based upon ineffective assistance of counsel, if any, and accommodates the parties’ court

23
     scheduling conflicts.
24
            IT IS SO STIPULATED.
25
     Dated: May 5, 2025                                   /s/ Gail Shifman
26                                                 ____________________________
27                                                 Gail Shifman
                                                   Attorneys for Defendant
28                                                 MICHAEL ROTHENBERG

     STIPULATION TO CONTINUE HEARING              1
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 1 Dated: May 5, 2025                                    /s/ Benjamin Kleinman
                                                  ____________________________
 2
                                                  Benjamin Kleinman
 3                                                Nicholas Walsh
                                                  Assistant U.S. Attorneys
 4

 5                                     [PROPOSED] ORDER
 6
            Based upon the facts set forth in the stipulation of the parties, and for good cause shown, the
 7
     Court continues the May 9, 2025 status hearing until May 30, 2025, at 9:30 a.m. for status.
 8
            IT IS SO ORDERED.
 9
     DATED: May ___, 2025                                 ______________________________
10
                                                          HON. JON S. TIGAR
11                                                        United States District Judge

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     STIPULATION TO CONTINUE HEARING             2
